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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO

In re:                                    )
                                          )
11380 SMITH ROAD, LLC,                    )     Case No. 18-10965
EIN: XX-XXXXXXX,                          )     Chapter 11
                                          )
        Debtor.                           )
                                          )
_____________________________________________________________________________

                    NOTICE OF POSTPONEMENT OF DEPOSITION


        Please take notice that, pursuant to the ORDER GRANTING MOTION FOR ORDER
AUTHORIZING EXAMINATION OF DEBTOR PURSUANT TO FED. R. BANKR. P. 2004
(Docket No. 44), 11380 East Smith RD Investments, LLC (“Lender”), the Debtor’s sole secured
creditor in this chapter 11 case, by and through its undersigned counsel, Moye White LLP, has
consensually agreed to postpone the deposition of Louis Hard, the authorized representative for
the Debtor 11380 Smith Road, LLC before a certified shorthand reporter to May 1, 2018,
starting at 9:00 a.m. MDT, at the offices of Moye White LLP, 1400 16th Street, Denver,
Colorado 80202-1486. The deposition will continue from day to business day until completed
and will be recorded by stenographic and video means.


Dated: April 20, 2018                           MOYE WHITE LLP


                                                /s/ Timothy M. Swanson
                                                Timothy M. Swanson, Colorado No. 47267
                                                1400 16th Street, Suite 600
                                                Denver, CO 80202
                                                (303) 292-2900
                                                (303) 292-4510 facsimile
                                                tim.swanson@moyewhite.com
                                                Counsel for 11380 East Smith Rd
                                                Investments, LLC
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                                CERTIFICATE OF SERVICE
        I hereby certify that on April 20, 2018, I electronically filed the foregoing with the clerk
of the court using the CM/ECF system, which will send notification of such filing to all parties
receiving electronic notice from the Court’s CM/ECF system, and served the foregoing via first
class mail on the parties identified below.
11380 Smith RD LLC                                   Jeffrey Weinman
c/o Mr. Louis Hard                                   730 17th Street, Suite 240
11380 Smith Road                                     Denver, CO 80202
Aurora, CO 80010                                     Counsel to the Debtor
Debtor
                                                     Douglas W. Brown, Esq.
United States Trustee                                Brown Dunning Walker PC
c/o Mr. Robert Samuel Boughner                       2000 South Colorado Blvd.
Byron G. Rogers Federal Building                     Tower Two, Suite 700
1961 Stout Street, Ste. 12-200                       Denver, CO 80222
Denver, CO 80294                                     Counsel to the Debtor
United States Trustee

United States Trustee
c/o Daniel J. Morse
308 W. 21st Street, Ste. 203
Cheyenne, WY 82001
United States Trustee



                                              s/ Timothy M. Swanson                  

 

 
 




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